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                            8
                                                        UNITED STATES DISTRICT COURT
                            9
                                                      NORTHERN DISTRICT OF CALIFORNIA
                         10                                               DIVISION

                         11
                                 NETLIST, INC.,                       )   Case No. 4:09-cv-05718-
                         12                                           )
                                                   Plaintiff,         )
                         13                                           )   ORDER GRANTING
                                       v.                             )                          ATIVE
                         14                                           )   MOTION TO FILE UNDER SEAL
                                 GOOGLE LLC,                          )
                         15                                           )
                                                   Defendant.         )   RECENT DECISION PURSUANT TO
                         16                                           )   LOCAL RULE 7-3(d)(2)

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IRELL & MANELLA LLP
A Registered Limited Liability
 Law Partnership Including
 Professional Corporations
                                                                                                           [PROPOSED] ORDER
                                                                                                    CASE NO. 4:09-CV-05718-SBA
                                    Case 3:09-cv-05718-RS Document 261 Filed 05/09/22 Page 2 of 2



                            1           Before the Court is                    s Administrative Motion to File Under Seal certain

                            2 portions of                                                          o Local Rule 7-3(d)(2) (the

                            3    Administrative

                            4           Having considered the Administrative Motion, supporting declaration, and other papers on

                            5 file, and having found the request to seal narrowly tailored to protect highly confidential and

                            6 proprietary information, the Court ORDERS as follows:

                            7                                                       Designating
                                         Document Sought to Be Sealed
                                                                                      Party               Motion to Seal
                            8
                                                                                                   Granted as to portions
                            9                                                    Google            redacted at 1:10, 1:13
                                  Pursuant to Local Rule 7-3(d)(2)
                                                                                                   and 1:15-16
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                         13 SO ORDERED.

                         14
                                         May 9
                                 Dated: ___________, 2022                   __________________________________________
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                                                                                          United States District Judge
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IRELL & MANELLA LLP
A Registered Limited Liability
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 Professional Corporations
                                                                                                              CASE NO. 4:09-CV-05718-SBA
                                                                              - -
